
PER CURIAM.
We reverse Appellant’s conviction for attempted second-degree murder and remand this cause for a new trial. Burton v. *1027State, — So.3d —, 2011 WL 1326258 (Fla. 5th DCA 2011); Lamb v. State, 18 So.3d 734 (Fla. 1st DCA 2009). We once again certify conflict with Williams v. State, 40 So.3d 72 (Fla. 4th DCA 2010), review granted, 64 So.3d 1262 (Fla.2011), and we withhold issuance of the mandate pending resolution of that conflict.
REVERSED and REMANDED.
SAWAYA, TORPY and LAWSON, JJ., concur.
